                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 1 of 9 Page ID #:5239



                                                                                             1   VENABLE LLP
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                                                                                                 Los Angeles, CA 90067
                                                                                             8   Telephone: (310) 229-9900
                                                                                                 Facsimile: (310) 229-9901
                                                                                             9
                                                                                                 Attorneys for Defendants True Count
                                                                                            10   Staffing, Inc., Albert Kim, Kaine Wen,
                                                                                                 and Relief Defendant Infinite Management
                                                                                            11   Corp.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                            UNITED STATES DISTRICT COURT
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                          CENTRAL DISTRICT OF CALIFORNIA
                                                                             310-229-9900




                                                                                            14   Bureau of Consumer Financial                  CASE NO. 8:19-cv-01998-MWF(KSx)
                                                                                                 Protection; State of Minnesota, by its
                                                                                            15   Attorney General, Keith Ellison; State of     Hon. Michael W. Fitzgerald
                                                                                                 North Carolina, ex rel. Joshua H. Stein,      Courtroom 5A – First Street
                                                                                            16   Attorney General; and The People of The
                                                                                                 State of California, Michael N. Feuer,        NOTICE OF MOTION AND
                                                                                            17   Los Angeles City Attorney,                    MOTION TO WITHDRAW AS
                                                                                                                                               COUNSEL OF RECORD FOR
                                                                                            18                   Plaintiffs,                   DEFENDANTS TRUE COUNT
                                                                                                                                               STAFFING, INC., ALBERT KIM,
                                                                                            19              v.                                 AND KAINE WEN, AND RELIEF
                                                                                                                                               DEFENDANT INFINITE
                                                                                            20   Consumer Advocacy Center Inc., d/b/a          MANAGEMENT CORP.
                                                                                                 Premier Student Loan Center; True
                                                                                            21   Count Staffing Inc., d/b/a SL Account         Date:           August 31, 2020
                                                                                                 Management; Prime Consulting LLC,             Time:           10:00 a.m.
                                                                                            22   d/b/a Financial Preparation Services;         Crtrm:          5A
                                                                                                 TAS 2019 LLC d/b/a Trusted Account
                                                                                            23   Services; Horizon Consultants LLC;            Action Filed:   October 21, 2019
                                                                                                 First Priority LLC d/b/a Priority
                                                                                            24   Account Management; Albert Kim,
                                                                                                 a/k/a Albert King; Kaine Wen, a/k/a
                                                                                            25   Wenting Kaine Dai, Wen Ting Dai, and
                                                                                                 Kaine Wen Dai; and Tuong Nguyen,
                                                                                            26   a/k/a Tom Nelson,
                                                                                            27                   Defendants, and
                                                                                            28   Infinite Management Corp., f/k/a

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                                                                                                                                   NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 2 of 9 Page ID #:5240



                                                                                                 Infinite Management Solutions Inc.;
                                                                                             1   Hold The Door, Corp.; TN
                                                                                                 Accounting Inc.; Mice and Men
                                                                                             2   LLC; 1st Generation Holdings, LLC;
                                                                                                 Sarah Kim, and Anan Enterprise,
                                                                                             3   Inc.,
                                                                                             4               Relief Defendants.
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                                             NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 3 of 9 Page ID #:5241



                                                                                             1              TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF
                                                                                             2   RECORD:
                                                                                             3              PLEASE TAKE NOTICE that on August 31, 2020, at 10:00 a.m., or as soon
                                                                                             4   thereafter as the matter may be heard, before the Honorable Michael W. Fitzgerald,
                                                                                             5   United States District Judge, Courtroom 5A, 350 W. First Street, Los Angeles,
                                                                                             6   California.
                                                                                             7   90012, Allyson B. Baker, Gerald S. Sachs, and Witt W. Chang of Venable LLP
                                                                                             8   (“Venable”) will and hereby do move to withdraw as counsel of record for
                                                                                             9   Defendants True Count Staffing, Inc. (“True Count”), Albert Kim, and Kaine Wen,
                                                                                            10   and Relief Defendant Infinite Management Corp. (“Infinite”) (collectively,
                                                                                            11   “Defendants”).
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12              This motion is made pursuant to Local Rules 83-2.3.2 and 83-3.1.2 and on the
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                                                                                            13   following grounds: (i) Venable recently became aware of an actual client conflict
                                                                             310-229-9900




                                                                                            14   regarding Defendants’ respective positions on matters in litigation; (ii) due to the
                                                                                            15   conflict, there has been a breakdown in communications between Venable and
                                                                                            16   Defendants that has made it unreasonably difficult for Venable to carry out effective
                                                                                            17   representation; and (iii) withdrawal would not result in any material prejudice to the
                                                                                            18   litigants or the administration of justice, nor would it result in material delay of this
                                                                                            19   action.
                                                                                            20              Pursuant to Local Rule 7-3, prior to the filing of this motion, Venable
                                                                                            21   requested that Defendants consent to its withdrawal from representation and
                                                                                            22   conferred with counsel for the Receiver appointed over True Count. Declaration of
                                                                                            23   Gerald S. Sachs ¶ 2. Pursuant to Local Rule 83-2.3.4., True Count and Infinite were
                                                                                            24   advised of the consequences of their inability to appear pro se. Id. True Count,
                                                                                            25   Infinite, Mr. Kim, and Mr. Wen do not consent to Venable’s withdrawal. Id. The
                                                                                            26   Receiver consents to Venable’s withdrawal from representation of True Count. Id.
                                                                                            27              This motion is based on this Notice of Motion, the attached Memorandum of
                                                                                            28   Points and Authorities, and the Declaration of Gerald S. Sachs served and filed

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                                                                                                                                   NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 4 of 9 Page ID #:5242



                                                                                             1   concurrently herewith, and on such other oral and documentary evidence as may be
                                                                                             2   presented at the hearing of the motion.
                                                                                             3

                                                                                             4   Dated: July 24, 2020                      VENABLE LLP
                                                                                             5
                                                                                                                                           By: /s/ Witt W. Chang
                                                                                             6                                                   Allyson B. Baker (admitted p.h.v.)
                                                                                                                                                 Gerald S. Sachs (admitted p.h.v.)
                                                                                             7                                                   Witt W. Chang
                                                                                                                                           Attorneys for Defendants True Count
                                                                                             8                                             Staffing Inc, Kaine Wen, and Albert Kim,
                                                                                                                                           and Relief Defendant Infinite Management
                                                                                             9                                             Corp.
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              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                                               NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 5 of 9 Page ID #:5243



                                                                                             1                    MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                             2   I.         INTRODUCTION
                                                                                             3              The Court should grant Venable LLP’s (“Venable”) motion to withdraw
                                                                                             4   from representing Defendants True Count Staffing, Inc., Albert Kim, and Kaine
                                                                                             5   Wen, and Relief Defendant Infinite Management Corp. (collectively,
                                                                                             6   “Defendants”)1 because an actual conflict of interest between and among
                                                                                             7   Defendants has arisen, such that Venable cannot continue its representation
                                                                                             8   without the significant risk of running afoul of the California Rules of Professional
                                                                                             9   Conduct. Further, due to this conflict, communications between Venable and
                                                                                            10   Defendants have broken down, such that Venable is no longer able to effectively
                                                                                            11   represent Defendants. Finally, as this case is not yet at issue, no scheduling
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   conference has been set, and no trial date has been set, the requested withdrawal
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                                                                                            13   will not cause any prejudice to other litigants or the administration of justice, or
                                                                             310-229-9900




                                                                                            14   delay the resolution of this case. Accordingly, Venable respectfully requests that
                                                                                            15   the Court grant its motion to withdraw.
                                                                                            16   II.        LEGAL STANDARD
                                                                                            17              For good cause shown, the Court is empowered to permit counsel to
                                                                                            18   withdraw from representation. See United States v. Carter, 560 F.3d 1107, 1113
                                                                                            19   (9th Cir. 2009); Local Rule 83-2.3.2 (articulating “good cause” standard). In
                                                                                            20   determining whether to grant a motion to withdraw, courts consider the following
                                                                                            21   four factors: “(1) the reasons why withdrawal is sought; (2) the prejudice
                                                                                            22   withdrawal may result to other litigants; (3) the harm withdrawal might cause to
                                                                                            23   the administration of justice[;] and (4) the degree to which withdrawal will delay
                                                                                            24   the resolution of the case.” Huntington Learning Ctrs., Inc. v. Educ. Gateway,
                                                                                            25   Inc., 2009 WL 2337863, at *1 (C.D. Cal. June 28, 2009).
                                                                                            26

                                                                                            27   1 The docket erroneously lists Witt W. Chang of Venable as counsel of record for
                                                                                                 Defendant Consumer Advocacy Center Inc., Tuong Nguyen, and TN Accounting, Inc.
                                                                                            28   Those defendants are represented by other counsel, as identified on the docket.

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                                                                                                                                  NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 6 of 9 Page ID #:5244



                                                                                             1              California law, including its Rules of Professional Conduct (with which
                                                                                             2   attorneys appearing in this jurisdiction must comply), controls the assessment of
                                                                                             3   counsel’s reasons to seek withdrawal. See Stewart v. Boeing Co., No. CV 12-
                                                                                             4   05621 RSWL, 2013 WL 3168269, at *1 (C.D. Cal. June 19, 2013) (“Federal courts
                                                                                             5   also often look to applicable state rules in determining whether adequate grounds
                                                                                             6   exist to excuse counsel from further representation.”); Local Rule 83-3.1.2 (“each
                                                                                             7   attorney shall be familiar with and comply with the standards of professional
                                                                                             8   conduct required of members of the State Bar of California and contained in the
                                                                                             9   State Bar Act, the Rules of Professional Conduct of the State Bar of California, and
                                                                                            10   the decisions of any court applicable thereto”).
                                                                                            11   III.       ARGUMENT
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12              A.    Venable’s Reasons for Withdrawal Constitute Good Cause
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                                                                                            13              Venable must be permitted to withdraw because an actual conflict of interest
                                                                             310-229-9900




                                                                                            14   has arisen in its joint representation of Defendants that puts Venable in an
                                                                                            15   impossible position with respect to the applicable Rules of Professional Conduct if
                                                                                            16   its joint representation of Defendants was to continue. “The existence of a conflict
                                                                                            17   of interest ordinarily constitutes a sufficient basis for withdrawing as counsel.”
                                                                                            18   Page v. Stanley, No. 2:11-CV-02255-CAS, 2014 WL 2472248, at *2 (C.D. Cal.
                                                                                            19   June 2, 2014); see also Cal. Rules of Professional Conduct, Rule 1.16(b)(9)
                                                                                            20   (withdrawal is proper if “a continuation of the representation is likely to result in a
                                                                                            21   violation of these rules or the State Bar Act”); id., Rule 1.7(a)-(b) & Cmt. 1
                                                                                            22   (articulating duty of undivided loyalty and prohibiting representation of directly
                                                                                            23   adverse clients or “if there is a significant risk the lawyer’s representation of the
                                                                                            24   client will be materially limited by the lawyer’s responsibilities to or relationships
                                                                                            25   with another client” without informed written consent); id., Rule 1.6(a)
                                                                                            26   (articulating duty of confidentiality); id., Rule 1.4(b)(3) (attorney must “keep the
                                                                                            27   client reasonably* informed about significant developments relating to the
                                                                                            28   representation”).

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                                                                                                                                   NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 7 of 9 Page ID #:5245



                                                                                             1              Here, without waiver of the attorney-client privilege or its duties with
                                                                                             2   respect to any of Defendants, Venable requests withdrawal because an actual
                                                                                             3   conflict of interest has recently arisen between and among Defendants that
                                                                                             4   prevents Venable from continuing to represent Defendants, and prevents Venable
                                                                                             5   from being able to simultaneously satisfy its duties of loyalty and confidentiality to
                                                                                             6   each of Defendants. See Declaration of Gerald S. Sachs (“Sachs Decl.”) ¶ 3. That
                                                                                             7   conflict of interest also materially limits Venable’s ability to effectively represent
                                                                                             8   each of them. Id.
                                                                                             9              Further, even if each of Defendants was willing to provide informed written
                                                                                            10   consent to waive the above-referenced conflict, Venable still must be permitted to
                                                                                            11   withdraw, as such consent would be insufficient for the representation to continue
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   under the present circumstances. See, e.g., Cal. Rules of Professional Conduct,
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                                                                                            13   Rule 1.7(d)(1) (representation not permitted even with client’s informed written
                                                                             310-229-9900




                                                                                            14   consent if attorney does not “reasonably believe[] that the lawyer will be able to
                                                                                            15   provide competent and diligent representation to each affected client”). Here, due
                                                                                            16   to the above-referenced conflicts, Venable does not believe that it can provide
                                                                                            17   competent and diligent representation as to each of Defendants if representation
                                                                                            18   were to continue. Sachs Decl. ¶ 4.
                                                                                            19              Moreover, due to the above-referenced conflicts, communications between
                                                                                            20   Venable and Defendants have broken down, such that Venable is no longer able to
                                                                                            21   effectively represent Defendants without unreasonable difficulty. Id. ¶ 5.
                                                                                            22   Withdrawal is proper for this independent reason. Cal. Rule of Professional
                                                                                            23   Conduct, rule 1.16(b)(4) (withdrawal proper where client’s conduct renders it
                                                                                            24   “unreasonably difficult for the lawyer to carry out the representation
                                                                                            25   effectively.”).2
                                                                                            26
                                                                                                 2
                                                                                                  Conflicts and breakdown in communication aside, and while not the basis for Venable’s
                                                                                            27   withdrawal, it bears noting that Defendants have a significant outstanding balance for
                                                                                                                                                                               (continued…)
                                                                                            28

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                                                                                                                                    NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 8 of 9 Page ID #:5246



                                                                                             1              Finally, counsel’s good faith representations herein should be taken at face
                                                                                             2   value due to counsel’s ongoing obligation not to reveal client confidences. See
                                                                                             3   Page v. Stanley, No. 2:11-CV-02255-CAS, 2014 WL 2472248, at *2 (C.D. Cal.
                                                                                             4   June 2, 2014) (quoting Aceves v. Superior Court, 51 Cal.App.4th 584, 592 (1996))
                                                                                             5   (“Where ... the duty not to reveal confidences prevent[s] counsel from further
                                                                                             6   disclosure and the court accept[s] the good faith of counsel's representations, the
                                                                                             7   court should find the conflict sufficiently established and permit withdrawal.”).
                                                                                             8              B.    Withdrawal Will Not Cause Material Prejudice to Other Litigants
                                                                                             9                    or the Administration of Justice, or Delay the Resolution of this
                                                                                            10                    Case
                                                                                            11              Venable’s withdrawal from representing three defendants and one relief
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   defendant will not materially prejudice any of them, the many other plaintiffs and
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   defendants in this action, or the administration of justice; nor will it delay
                                                                             310-229-9900




                                                                                            14   resolution of this case. See, e.g., Scottsdale Ins. Co. v. Grant & Weber, No. CV-
                                                                                            15   16-610-MWF (AJW), 2016 WL 7469640, at *2 (C.D. Cal. Nov. 1, 2016) (granting
                                                                                            16   motion to withdraw, finding no prejudice or delay, and concluding party would
                                                                                            17   still have time to retain counsel and mount a defense where trial was seven months
                                                                                            18   away).
                                                                                            19              This case is still in its infancy. No defendant has answered the operative
                                                                                            20   complaint. Party discovery has not commenced. No initial scheduling conference
                                                                                            21   has been set. No trial date has been set.
                                                                                            22              Accordingly, no prejudice or delay would result from permitting Venable to
                                                                                            23   withdraw; indeed, prejudice would result from forcing Venable to continue to
                                                                                            24   represent Defendants given the conflict of interest and breakdown in
                                                                                            25   communications articulated herein. See, e.g., Almont Ambulatory Surgery Ctr.,
                                                                                            26

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                                                                                                 work performed by Venable on this matter and have not indicated any willingness or
                                                                                            28   ability to pay those fees or any fees for future work. Sachs Decl. ¶ 6.

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                                                                                                                                   NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
                                                                             Case 8:19-cv-01998-MWF-KS Document 168 Filed 07/24/20 Page 9 of 9 Page ID #:5247



                                                                                             1   LLC v. UnitedHealth Grp., Inc., No. CV1403053MWFVBKX, 2015 WL
                                                                                             2   12809590, at *2 (C.D. Cal. Oct. 23, 2015) (granting motion to withdraw, finding
                                                                                             3   no prejudice or delay where no scheduling conference set, no trial date set, and
                                                                                             4   parties recently completed briefing on responsive pleading; and observing that
                                                                                             5   “[a]lthough this litigation is complex with a steep learning curve, permitting
                                                                                             6   withdrawal at this early stage would be significantly more beneficial to all litigants
                                                                                             7   than forcing [firm] to continue its representation despite the breakdown of the
                                                                                             8   attorney-client relationship.”).
                                                                                             9   IV.        CONCLUSION
                                                                                            10              For the foregoing reasons, Venable respectfully requests that the Court
                                                                                            11   permit it and its attorneys to withdraw from representing Defendants True Count
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Staffing, Inc., Albert Kim, and Kaine Wen, and Relief Defendant Infinite
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   Management Corp. as their counsel of record effective as of the date of the order
                                                                             310-229-9900




                                                                                            14   granting this motion.
                                                                                            15

                                                                                            16   Dated: July 24, 2020                        VENABLE LLP
                                                                                            17
                                                                                                                                             By: /s/ Witt W. Chang
                                                                                            18                                                     Allyson B. Baker (admitted p.h.v.)
                                                                                                                                                   Gerald S. Sachs (admitted p.h.v.)
                                                                                            19                                                     Witt W. Chang
                                                                                                                                             Attorneys for Defendants True Count
                                                                                            20                                               Staffing Inc, Kaine Wen, and Albert Kim,
                                                                                                                                             and Relief Defendant Infinite Management
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                                                                                                                                   NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL
